                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION
                                 No. 4:25-CV-62-D

MRBEASTYOUTUBE, LLC,                          )
                                              )
               Plaintiff,                     )
                                              )
       V.                                     )              ORDER
                                              )
LEROY NABORS,                                 )
                                              )
               Defendant.                     )


       Plaintiff MrBeastYouTube, LLC ("Plaintiff') has moved to seal the exhibit marked as

Exhibit A to the complaint and filed separately at [DE-6] as proposed sealed Exhibit 1. [DE-7].

Defendant Leroy Nabors ("Defendant") consents to the request, Pl.' s Mem. [DE-8] at 1-2, and the

time for filing a response has passed; thus, the matter is ripe for decision. For the reasons stated

below, Plaintiffs motion is allowed.

                                       I. BACKGROUND

       On April 4, 2025, Plaintiff filed the complaint in this action, claiming misappropriation of

trade secrets under 18 U.S.C. § 1836 et seq. and N.C.G.S. § 66-152 et seq., breach of contract, and

conversion, and seeking a permanent injunction and declaratory relief. [DE- I]. Attached to the

complaint are two exhibits, including Exhibit A, which illustrates by file name the volume and

type of documents Defendant allegedly exfiltrated from Plaintiff prior to the termination of his

employment. Compl. [DE-I] 1 2; [DE-1-1]; [DE-6]. Upon filing, Exhibit A was sealed

provisionally by the clerk per Plaintiffs request because it contains materials considered

confidential by Plaintiff. [DE-1-1]. On April 24, •2025, Plaintiff then moved to seal Exhibit A in




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its entirety. 1 [DE-7]. Defendant has not responded to the motion, but Plaintiff represents that he

has stipulated to the sealing. Pl.'s Mem. [DE-8] at 1-2.

                                                II. DISCUSSION

         "[T]he courts of this country recognize a general right to inspect and copy public records

and documents, including judicial records and documents." Nixon v. Warner Commc 'ns, Inc., 435

U.S. 589, 597 (1978) (internal footnote omitted). The Fourth Circuit has directed that before

sealing publicly filed documents, the court must first determine if the source of the public's right

to access the documents is derived from the common law or from the First Amendment. Stone v.

Univ. of Md., 855 F.2d 178, 180 (4th Cir. 1988). "[T]he common law presumption in favor of

access attaches to all 'judicial records and documents,' [while] the First Amendment guarantee of

access has been extended only to particular judicial records and documents[,]" such as those filed

in connection with a motion for summary judgment. Id. (quoting Nixon, 435 U.S. at 597 & citing

Rushfordv. New Yorker Magazine, Inc., 846 F.2d 249,253 (4th Cir. 1988); In re Washington Post

Co., 807 F.2d 383,390 (4th Cir. 1986)). "[D]ocuments filed with the court are 'judicial records' if

they play a role in the adjudicative process, or adjudicate substantive rights." In re Application of

the US.for an Order Pursuant to 18 US.C. Section 2703(D), 707 F.3d 283,290 (4th Cir. 2013)

(citations omitted); see also United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995) ("[T]he item

filed must be relevant to the performance of the judicial function and useful in the judicial process

in order for it to be designated a judicial document.").

         Courts apply the "experience and logic" test to determine whether there is also a First

Amendment right to access, which provides more substantive protection to the public's interest in

access than does the common law. In re Application, 707 F.3d at 291; Rusliford, 846 F.2d at 253.


1 Plaintiff's motion and memorandum refer to Exhibit A as Exhibit 1. For the sake of clarity, the court will refer to the

document as Exhibit A throughout this order.

                                                           2

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Under this test, the court considers "(1) 'whether the place and process have historically been open

to the press and general public,' and (2) 'whether public access plays a significant positive role in

the functioning of the particular process in question."' In re Application, 707 F.3d at 291 (quoting

Bait. Sun Co. v. Goetz, 886 F.2d 60, 64 (4th Cir. 1989)). The Fourth Circuit has determined that

the more rigorous First Amendment standard should apply to documents filed in connection with

a summary judgment motion in a civil case "[b]ecause summary judgment adjudicates substantive

rights and serves as a substitute for a trial,'' which is generally open to the public. Rushford, 846

F.2d at 252-53.

       Here, Plaintiff seeks to seal Exhibit A to the complaint, which "contains a detailed list of

the confidential Beast documents [Defendant] unlawfully exfiltrated in the days leading up to his

termination of employment." Pl. 's Mem. [DE-8] at 1. Alternatively, Plaintiff requests leave to file

a partially redacted version of the exhibit. Id. Applying the experience and logic test, the common

law right of access applies to Exhibit A. See Epic Tech, LLC v. Raleigh Startup Sols. LLC, No.

5:23-CV-136-D, 2023 WL 3029243, at *1 (E.D.N.C. Apr. 20, 2023) (finding common law right

of access where proposed sealed documents filed as exhibits to complaint) (citing Smartsky

Networks, LLC v. Wireless Sys. Sols. LLC, No. l:20-CV-834, 2021 WL 929729, at *5 (M.D.N.C.

Mar. 11, 2021)). However, "[t]he mere existence of a ... common law right of access to a particular

kind of document does not entitle[] the press and the public to access in every case." Rushford,

846 F.2d at 253 (citation omitted). The "protection of a party's interest in confidential commercial

information, such as a trade secret, where there is a sufficient threat of irreparable harm" is a

recognized exception to the "presumptive openness of judicial proceedings." Publicker Indus., Inc.

v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984) (citing Stamicarbon, NV v. American Cyanamid




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Co., 506 F.2d 532, 539-42 (2d Cir. 1974)). The party seeking to deny access bears the burden.

Rushford, 846 F.2d at 253.

        To determine whether records should be sealed, the court must follow the procedure

established in In re Knight Publ'g Co., 743 F.2d 231 (4th Cir. 1984). The court must first provide

"public notice of the request to seal and allow the interested parties a reasonable opportunity to

object." Id at 235-36. Notice is sufficient where a motion is docketed reasonably in advance of

its disposition. Id at 235. Second, the court must consider less drastic alternatives, such as

redaction of any sensitive material. Id. at 235-36. Then, if the court determines that public access

should be denied, the court must provide specific reasons and factual findings supporting the

decision to seal. Id

        The motion to seal was filed on April 24, 2025, and has been accessible to the public on

the court's case management and case filing system since that time. Thus, the public has been

provided with notice and.an opportunity to object to the motion. See Epic Tech, 2023 WL 3029243,

at *2 (citing Knight, 743 F.2d at 234) (noting that the Third Circuit found notice sufficient where

a motion was docketed reasonably in advance of its disposition); see also Oliver v. Williams, No.

5:09-CT-3027-H, 2010 WL 2927456, at *1 (E.D.N.C. July 21, 2010). No objections to sealing

have been lodged. Having reviewed the proposed sealed material, the court finds that it is

substantially comprised of commercially sensitive material, such that no less drastic alternative to

sealing, e.g., redaction, is available. Finally, the court finds that, absent sealing, competitors could

access this information to the detriment of Plaintiffs business interests. Accordingly, the court

finds that Plaintiffs interest in protecting its commercially sensitive information overcomes the

public's right to access, and the motion to seal Exhibit A is allowed.




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                            IV. CONCLUSION

For the foregoing reasons, Plaintiffs motion to seal is ALLOWED.

So ordered, the 2-   day of June 2025.




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